               Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 1 of 9



UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
_____________________________________________

SERVANTS OF JESUS AND MARY, INC.,
d/b/a THE FATIMA CENTER

                                           Plaintiff,

          v.
                                                            NOTICE OF REMOVAL
THE NATIONAL COMMITTEE FOR THE
NATIONAL PILGRIM VIRGIN OF CANADA                           Civil Action No.

and

THE FATIMA CENTER U.S.A., INC.

and

ANDREW CESANEK

                                    Defendants.
_____________________________________________

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1338, 1367, 1441, and

1446, the action entitled SERVANTS OF JESUS AND MARY, INC., d/b/a THE FATIMA

CENTER v. THE NATIONAL COMMITTEE FOR THE NATIONAL PILGRIM VIRGIN OF

CANADA, and THE FATIMA CENTER U.S.A., INC., and ANDREW CESANEK, commenced

in the Supreme Court of the State of New York, County of St. Lawrence (Index No. CV-2018-

0152396), thereafter transferred to and currently pending in the Supreme Court of the State of

New York, County of Niagara (Index No. E165222/2018) (hereinafter, “State Court Action”), is

removed by Defendants, THE NATIONAL COMMITTEE FOR THE PILGRIM VIRGIN OF

CANADA (hereinafter, “NPV”), and THE FATIMA CENTER U.S.A., INC., and ANDREW

CESANEK, (hereinafter, “Removing Parties”), from the Supreme Court of the State of New

York, County of Niagara, to the United States District Court for the Western District of New
               Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 2 of 9



York by the filing of this Notice of Removal with the Clerk of the United States District Court

for the Western District of New York.

          Removing Parties, by and through their undersigned counsel, Justin D. Kloss, Esq. of

KLOSS, STENGER & LOTEMPIO, and Michael A. Brady, Esq., of HAGERTY & BRADY,

respectfully submit this Notice of Removal, and state the following as grounds for removing this

action:

          1.     Removing Parties have complied with the requirements of Local Rule 81 by

completing a civil cover sheet, submitting the requisite filing fee, and attaching an index

identifying all documents (including process, pleadings, and orders) in the State Court Action,

individually tabbed, and arranged in chronological order according to the State Court filing date.

The Index is annexed hereto as Exhibit A.


                                 STATEMENT OF THE CASE


          2.     Upon information and belief, on April 2, 2018, the above-captioned action was

commenced against all Removing Parties except ANDREW CESANEK in the Supreme Court of

New York, County of St. Lawrence. See Exhibit A-2 (“Ex. A-2”).

          3.     Upon information and belief, on June 7, 2018 Plaintiff filed a Supplemental

Summons and Amended Complaint against Defendants in the Supreme Court of the State of

New York, County of St. Lawrence (Index No.: CV-2018-152396). See copy of Supplemental

Summons and Amended Complaint, attached hereto as Exhibit A-27 (“Ex. A-27”). Said

Amended Complaint was not served on Defendants NPV and THE FATIMA CENTER U.S.A,

INC., until June 12, 2018. The Amended Complaint added ANDREW CESANEK as a

Defendant in this action.
             Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 3 of 9



        4.     Upon information and belief, on June 11, 2018, the above-captioned action was

transferred to the Supreme Court of New York, County of Niagara.

        5.     Upon information and belief, on June 28, 2018 Defendant ANDREW CESANEK,

was personally served with a copy of Plaintiff’s Supplemental Summons and Amended

Complaint.

        6.     Upon information and belief, the Supplemental Summons and Amended

Complaint were not originally included in the case file transferred to the Supreme Court of the

State of New York, County of Niagara by the Clerk of the St. Lawrence Supreme Court.

        7.     Upon information and belief, on June 29, 2018 Plaintiff’s Supplemental Summons

and Amended Complaint against Defendants was transferred to the Supreme Court of the State

of New York, County of Niagara (Index No.: E165222/2018). See Ex. A-27. In the Amended

Complaint, Plaintiff seeks relief for injuries arising out, inter alia, violation of the Lanham Act

15 U.S.C. § 1125, as well as common law trademark infringement and unfair competition. See

Ex. A-27.

        8.     Defendants remove this action to this Court pursuant to the provisions of 28

U.S.C. §§ 1331, 1338, 1367, 1441, and 1446.


       FEDERAL QUESTION JURISDICTION UNDER 28 U.S.C. § 1331 and §1338


                          Original Jurisdiction under 28 U.S.C. § 1331


        9.     This Court has original jurisdiction under 28 U.S.C. § 1331. Under 28 U.S.C. §

1331, the “district courts shall have original jurisdiction of all civil actions arising under the …

laws … of the United States.” See 28 U.S.C. § 1331. The Amended Complaint alleges violations

of the Lanham Act, a law of the United States. See Ex. A-27. Thus, the Court has original
              Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 4 of 9



jurisdiction over the Lanham Act claims in the Amended Complaint. See, e.g., Harve Benard

Ltd. v. Nathan Rothschild, No. 02 CIV. 4033 (JGK), 2003 WL 367859, at *3 (S.D.N.Y. Feb. 19,

2003) (“there is federal question subject matter jurisdiction because the Complaint alleges

violations of the Lanham Act”).


                          Original Jurisdiction under 28 U.S.C. § 1338


        10.    This Court also has original jurisdiction over this action under 28 U.S.C. § 1338.

Under 28 U.S.C. § 1338(a), the “district courts shall have original jurisdiction of any civil action

arising under any Act of Congress relating to … trademarks.” See 28 U.S.C. § 1338(a). The

Amended Complaint alleges violations of the Lanham Act, an Act of Congress. See Ex. A-27.

Specifically, Plaintiff alleges that Defendants have improperly used a mark allegedly belonging

to Plaintiff in commerce. Id. Thus, the Court has original jurisdiction over the Lanham Act

claims in the Amended Complaint. See, e.g., Beech-Nut, Inc. v. Warner-Lambert Co., 346 F.

Supp. 547, 548 (S.D.N.Y. 1972), aff'd, 480 F.2d 801 (2d Cir. 1973) (“the case could have been

commenced here under § 43(a) of the Lanham Act … [thus] the removal was not improper”).

        11.    Further, this Court has original jurisdiction over unfair competition claims alleged

in the Amended Complaint. See Ex. A-27. Under 28 U.S.C. § 1338(b), the “district courts shall

have original jurisdiction of any civil action asserting a claim of unfair competition when joined

with a substantial and related claim under the … trademark laws.” See 28 U.S.C. § 1338(b).

Here, the Amended Complaint alleges unfair competition claims in addition to the Lanham Act

claims based on the same “nucleus of operative fact.” See United Mine Workers v. Gibbs, 383

U.S. 715, 725 (1966). Thus, the Court also has original jurisdiction over the unfair competition

claims related to the trademark claims alleged in the Amended Complaint.
               Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 5 of 9



                       Supplemental Jurisdiction under 28 U.S.C. § 1367


         12.    This Court has supplemental jurisdiction over any claims in the Amended

Complaint that are not Lanham Act or unfair competition claims under 28 U.S.C. § 1367. Under

28 U.S.C. § 1367(a), “in any civil action of which the district courts have original jurisdiction,

the district courts shall have supplemental jurisdiction over all other claims that are so related to

claims in the action within such original jurisdiction that they form part of the same case or

controversy.” See 28 U.S.C. 1367(a). Further, by statute, “[s]uch supplemental jurisdiction shall

include claims that involve the joinder … of additional parties.” Id. The other bases for relief

asserted by the Plaintiff in this action all arise out of the same set of facts and are part of the

same case and controversy, so that this Court has supplemental jurisdiction of them within the

meaning of 28 U.S.C. § 1367(a). This is an action over which this Court would have had original

jurisdiction had it been filed initially in this Court. Thus, this Court has supplemental jurisdiction

over all remaining claims in the Amended Complaint that do not fall under the umbrellas of

Lanham Act or unfair competition claims since all of the claims of the Amended Complaint arise

from the same case or controversy as the Lanham Act or unfair competition claims. See U.S.

Const. Art. III § 1.


                                 Removal under 28 U.S.C. § 1441


         13.    This action may be removed to the United States District Court for the Western

District of New York under 28 U.S.C. § 1441(a). Under 28 U.S.C. § 1441(a), except where

expressly prohibited by an Act of Congress, “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the

defendant … to the district court of the United States for the district and division embracing the
                 Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 6 of 9



place where such action is pending.” See 28 U.S.C. § 1441(a); see also Applied Nutrition

Strategies, LCC v. Phytoceutical Formulations, LCC, No. CIV. A. 03-1702, 2003 WL 21498911,

at *1 (E.D. La. June 20, 2003) (“[g]enerally, a defendant may remove a civil action filed in state

court if the federal court would have had original jurisdiction”). Since this Court has original

jurisdiction over the Lanham Act claims and original jurisdiction (or in the alternative,

supplemental jurisdiction) over the unfair competition claims alleged in the Amended Complaint

(see supra ¶¶ 9-12) and the United States District Court for the Western District of New York

“embraces” the jurisdiction of Niagara County (see infra ¶ 17) this action may be removed by the

Removing Parties to the United States District Court for the Western District of New York.

        14.       Removal of this action is, therefore, proper under the provisions of 28 U.S.C. §§

1331, 1338, 1367, and 1441 because this is a civil action brought in state court over which the

federal district courts would have had original jurisdiction had the action been commenced in

federal court.


  ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED


        15.       A copy of the written notice required by 28 U.S.C. §1446(d), addressed to

Plaintiff as the adverse party is attached as Exhibit B-1. A copy of the written notice required by

28 U.S.C. §1446(d), addressed to the Clerk of the Supreme Court, Niagara County, is attached as

Exhibit B-2, and will be filed in the Niagara County Clerk’s Office and served on counsel for

the Plaintiff after the filing of this Notice of Removal in the United States District Court for the

Western District of New York.

        16.       Presently, only Defendant THE NATIONAL COMMITTEE FOR THE

NATIONAL PILGRIM VIRGIN OF CANADA has answered and provided defenses and

objections and counterclaims to the original Summons and original Complaint. After removal is
              Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 7 of 9



completed, Defendants will provide an Answer to the Amended Complaint in accordance with

the terms of Federal Rule of Civil Procedure Rule 81(c)(2).

        17.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)

because the United States District Court for the Western District of New York is the federal

judicial district embracing the Supreme Court of the State of New York, County of Niagara

where the State Court Action is currently pending.


                              Timeliness under 28 U.S.C. § 1446


        18.    This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b). Under 28

U.S.C. § 1446(b)(3), “if the case stated by the initial pleading is not removable, a notice of

removal may be filed within thirty days after receipt by the defendant … of an amended

pleading, motion, order or other paper from which it may first be ascertained that the case is one

which is or has become removable.” 28 U.S.C. § 1446(b)(3) (emphasis added). Here, the action,

under the original Complaint alleged only State law claims. See Ex. A-2. By means of the

Amended Complaint alleging claims that fall under federal jurisdiction, this case has become

removable under the provisions of 28 U.S.C. §§ 1331, 1338, 1367, and 1441. See supra ¶¶ 9-14.


                                      Consent to Removal


        19.    Pursuant to 28 U.S.C. §1446(b)(2)(A), if a case is removed solely under 28 U.S.C.

§ 1441(a) then all defendants, properly served and joined, must consent to removal.

        20.    Defendants, THE NATIONAL COMMITTEE FOR THE NATIONAL PILGRIM

VIRGIN OF CANADA and THE FATIMA CENTER U.S.A., INC., are represented by the law

firm of KLOSS, STENGER & LOTEMPIO, and consent to the removal of this action to this
               Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 8 of 9



Court by signature of their counsel to this Notice and by the “Consent to Removal,” annexed as

Exhibit C-1.

         21.    Defendant, ANDREW CESANEK, is represented by the law firm of HAGERTY

& BRADY, and consents to the removal of this action to this Court by signature of his counsel to

this Notice, and by the “Consent to Removal,” annexed as Exhibit C-2.

         22.    Accordingly, all defendants consent to the removal of this action.


                                         CONCLUSION


         23.    By this Notice of Removal, the Removing Parties do not waive any defenses or

objections they may have to this action. The Removing Parties intend no admission of fact, law,

or liability by the Notice of Removal, and expressly reserve all defenses, motions, and pleas.


         WHEREFORE, Removing Parties request the removal of this action, currently docketed

in the New York Supreme Court, Niagara County (Index No.: E165222/2018) to the United

States District Court for the Western District New York and request that the United States

District Court for the Western District of New York assume jurisdiction over the entirety of this

action and preclude any further proceedings in the New York State Supreme Court.


Dated:          July 2, 2018
                Buffalo, New York


                                                             Respectfully submitted,



                                                             s/Justin D. Kloss
                                                             Justin D. Kloss, Esq.
                                                             KLOSS, STENGER & LOTEMPIO
                                                             Attorney for Defendants
Case 1:18-cv-00731 Document 1 Filed 07/02/18 Page 9 of 9



                                    The National Committee for the
                                    National Pilgrim Virgin of Canada
                                    and The Fatima Center U.S.A., Inc.
                                    69 Delaware Ave., Suite 1003
                                    Buffalo, NY 14202
                                    Telephone: (716) 853-1111
                                    Facsimile: (716) 759-1094
                                    jdkloss@klosslaw.com



                                    s/Michael A. Brady
                                    Michael A. Brady
                                    HAGERTY & BRADY
                                    Attorney for Defendant
                                    Andrew Cesanek
                                    69 Delaware Ave., Suite 1010
                                    Buffalo N.Y. 14202
                                    Telephone: (716) 856 9443
                                    Facsimile: (716) 856 0511
                                    mbrady@hagerty-brady.com
